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  3                                NOTE: CHANGES MADE BY THE COURT
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  9                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 10
                               (Western Division)
 11
      CLIFTON W. MARSHALL, et al.,          Case No. 16-CV-6794 AB (JCx)
 12
                                            [PROPOSED] ORDER GRANTING
 13                           Plaintiffs,   PLAINTIFFS’ APPLICATION FOR
       v.                                   LEAVE TO FILE UNDER SEAL
 14
                                            [Filed concurrently with: Application for
 15   NORTHROP GRUMMAN                      Leave to File Under Seal; Decl. of Kurt C.
      CORPORATION, et al.,                  Struckhoff In Support of Application for
 16                                         Leave to File Under Seal; and Exhibits
                                            Proposed to be Filed Under Seal]
 17                           Defendants.
                                            Hon. André Birotte Jr.
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Case 2:16-cv-06794-AB-JC Document 181 Filed 02/12/19 Page 2 of 2 Page ID #:8472



  1      Having considered Plaintiffs’ Application for Leave to File Under Seal, and
  2   finding good cause, the Court hereby grants the Application. Plaintiffs shall file
  3   under seal the Unredacted Memorandum in Support of Plaintiffs’ Motion to
  4   Disqualify defense experts Marcia Wagner and unredacted versions of Exhibits A
  5   and B.
  6
  7   IT IS SO ORDERED.
  8
      Dated: February 12, 2019
  9
                                             Hon. André Birotte Jr.
 10                                          U.S. District Court
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